            Case 2:21-cr-00019-NR Document 31 Filed 05/26/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      )
                                              )
                 Plaintiff,                   )
                                              ) 2:21-cr-19
                      v.                      )
                                              )
KALEB LEVICKY,
                                              )
                                              )
                 Defendant.                   )



              Hearing Type: Telephonic Status Conference

                                 Date: 5/26/21

                               Before: Judge J. Nicholas Ranjan




 Counsel for Plaintiff              Cindy Chung
 Counsel for Defendant              Lane Turturice
 Court Reporter                     K. Earley
 Law Clerk                          JM
 Start time                         10:07
 End time                           10:17
                              SUMMARY OF PROCEEDINGS:


Telephonic Status Conference held to discuss the current status of the case.

Defendant to file a motion to extend time to file pretrial motions.
